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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION


 UNITED STATES OF AMERICA                 )
                                          )
             v.                           )       CAUSE NO. 3:10-CR-82 RM
                                          )
 HEATHER RACH (02)                        )


                                       ORDER

       No objections have been filed to the magistrate judge’s findings and

 recommendations upon a plea of guilty issued on November 1, 2010. Accordingly,

 the court ADOPTS those findings and recommendations [docket # 40], ACCEPTS

 defendant Heather Rach’s plea of guilty, and FINDS the defendant guilty of Count

 2 of the Indictment, in violation of 18 U.S.C. § 922(g)(3).

       SO ORDERED.

       ENTERED:       November 19, 2010



                                   /s/ Robert L. Miller, Jr.
                                 Judge, United States District Court
                                 Northern District of Indiana
